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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Southern
 ____________________             Texas
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Zachry Holdings, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                2 ___
                                              ___      1 ___
                                                  6 – ___ 2 ___
                                                             5 ___
                                                                6 ___
                                                                   8 ___
                                                                      1 ___
                                                                         4
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              527         Logwood Avenue
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             P.O. Box 240130
                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                              San Antonio                 TX       78221
                                              ______________________________________________             San Antonio                TX       78224
                                                                                                         _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Bexar County
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://zachrygroup.com
                                              ____________________________________________________________________________________________________




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Debtor        Zachry Holdings, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name



                                          ■ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          
 6.   Type of debtor
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          ■ None of the above
                                          

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              2 ___
                                             ___ 3 ___
                                                    7 ___
                                                       9

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          ■ Chapter 11. Check all that apply:
                                          
      A debtor who is a “small business
      debtor” must check the first sub-
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor         Zachry Holdings, Inc.
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases        ■ No
                                         
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
                                                   District _______________________ When _______________ Case number _________________________
      separate list.
                                                                                         MM / DD / YYYY


 10. Are any bankruptcy cases             No
      pending or being filed by a
      business partner or an                          See Schedule 1
                                         ■ Yes. Debtor _____________________________________________               Affiliate
                                                                                                     Relationship _________________________
      affiliate of the debtor?                              Southern District of Texas
                                                   District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                         ■ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                         ■ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                         

 12. Does the debtor own or have         ■ No
                                         
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor      Zachry Holdings, Inc.
            _______________________________________________________                            Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                             ■ 1,000-5,000
                                                                                                                        25,001-50,000
 14. Estimated number of
                                          50-99                             5,001-10,000                               50,001-100,000
     creditors (on a
     consolidated basis)
                                          100-199                           10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets                                                                                                   ■ $1,000,000,001-$10 billion
                                          $50,001-$100,000                  $10,000,001-$50 million                   
     (on a consolidated
     basis)                               $100,001-$500,000                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities                                                                                              ■ $1,000,000,001-$10 billion
                                          $50,001-$100,000                  $10,000,001-$50 million                   
     (on a consolidated
     basis)
                                          $100,001-$500,000                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million               $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                        5/21/2024
                                            Executed on _________________
                                                        MM / DD / YYYY


                                            /s/ James R. Old
                                             _____________________________________________               James R. Old
                                                                                                         _______________________________________________
                                            Signature of authorized representative of debtor             Printed name

                                                   General Counsel
                                            Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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Debtor      Zachry Holdings, Inc.
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                         /s/ Charles R. Koster
                                          _____________________________________________            Date       5/21/2024
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY



                                         Charles R. Koster
                                         _________________________________________________________________________________________________
                                         Printed name
                                         White & Case LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         609         Main Street, Suite 2900
                                         _________________________________________________________________________________________________
                                         Number      Street
                                         Houston
                                         ____________________________________________________             Texas
                                                                                                         ____________  77002-4403
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                         (713) 496-9700
                                         ____________________________________                             charles.koster@whitecase.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                         24128278
                                         ______________________________________________________ Texas
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                             Schedule 1

                                         Affiliated Entities

On the date hereof, each of the affiliated entities listed below (collectively, the “Debtors”) filed in
this Court a petition for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§
101 et seq., as amended. The Debtors have moved for joint administration of these cases under the
case number assigned to the chapter 11 case of Zachry Holdings, Inc.

                                    Debtor                            Corporate ID No.
         1.   Zachry Holdings, Inc.                                       XX-XXXXXXX
         2.   Zachry EPC Holdings, LLC                                    XX-XXXXXXX
         3.   Zachry Engineering Corporation                              XX-XXXXXXX
         4.   Zachry High Voltage Solutions, LLC                          XX-XXXXXXX
         5.   ZEC New York, Inc.                                          XX-XXXXXXX
         6.   UE Properties, Inc.                                         XX-XXXXXXX
         7.   ZEC Michigan, Inc.                                          XX-XXXXXXX
         8.   Zachry Industrial, Inc.                                     XX-XXXXXXX
         9.   Zachry Constructors, LLC                                    XX-XXXXXXX
         10. Moss Point Properties, LLC                                   XX-XXXXXXX
         11. Zachry Enterprise Solutions, LLC                             XX-XXXXXXX
         12. Zachry Nuclear, Inc.                                         XX-XXXXXXX
         13. Zachry Nuclear Construction, Inc.                            XX-XXXXXXX
         14. Zachry Nuclear Engineering, Inc.                             XX-XXXXXXX
         15. Computer Simulation & Analysis, Inc.                         XX-XXXXXXX
         16. Zachry Plant Services Holdings, Inc.                         XX-XXXXXXX
         17. JVIC Fabrication, LLC                                        XX-XXXXXXX
         18. Zachry Industrial Americas, Inc.                             XX-XXXXXXX
         19. Zachry Maintenance Services, LLC                             XX-XXXXXXX
         20. J.V. Industrial Companies, LLC                               XX-XXXXXXX
         21. Madison Industrial Services Team, LLC                        XX-XXXXXXX
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                   )
    In re:                                                         )   Chapter 11
                                                                   )
    ZACHRY HOLDINGS, INC., et al.1                                 )   Case No. 24-______ (___)
                                                                   )
                              Debtors.                             )   (Joint Administration Requested)
                                                                   )

                CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                AND LIST OF EQUITY INTEREST HOLDERS PURSUANT TO
                    FED. BANKR. P. 1007(A)(1), 1007(A)(3), AND 7007.1

         Pursuant to rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), attached hereto as Exhibit A is an organizational list

reflecting all of the ownership interests in the above-captioned debtor and its debtor affiliates, as

debtors and debtors in possession (collectively, the “Debtors”). The Debtors respectfully represent

as follows:

         1.       The equity of each of the Debtors identified on Exhibit A is 100% owned by the

entity identified as the equity holder thereof on Exhibit A.

         2.       Zachry Holdings, Inc. is the direct or indirect parent of each of the other Debtors

and its equity securities are wholly owned by non-debtor Zachry, LLC.




1
     The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
     number, are: Zachry Holdings, Inc. (6814); Zachry EPC Holdings, LLC (0077); Zachry Engineering Corporation
     (3134); Zachry High Voltage Solutions, LLC (1090); ZEC New York, Inc. (5897); UE Properties, Inc. (2226);
     ZEC Michigan, Inc. (4627); Zachry Industrial, Inc. (7583); Zachry Constructors, LLC (9094); Moss Point
     Properties, LLC (1616); Zachry Enterprise Solutions, LLC (2706); Zachry Nuclear, Inc. (7807); Zachry Nuclear
     Construction, Inc. (3241); Zachry Nuclear Engineering, Inc. (7568); Computer Simulation & Analysis, Inc.
     (4097); Zachry Plant Services Holdings, Inc. (1383); JVIC Fabrication, LLC (9726); Zachry Industrial Americas,
     Inc. (0902); Zachry Maintenance Services, LLC (19005); J.V. Industrial Companies, LLC (0821); Madison
     Industrial Services Team, LLC (6261). The location of the debtors’ service address in these chapter 11 cases
     is: P.O. Box 240130, San Antonio, Texas 78224.
                                                                 Exhibit A

                                                                                       %
                           Entity                        Equity Holder                              Last Known Address of Equity Holder
                                                                                    Ownership
1.   Zachry Holdings, Inc.                   Zachry, LLC                              100%      527 Logwood Avenue, San Antonio, Texas 78221
2.   Zachry EPC Holdings, LLC                Zachry Holdings, Inc.                    100%      527 Logwood Avenue, San Antonio, Texas 78221
3.   Zachry Engineering Corporation          Zachry EPC Holdings, LLC                 100%      527 Logwood Avenue, San Antonio, Texas 78221
4.   Zachry High Voltage Solutions, LLC      Zachry Engineering Corporation           100%      527 Logwood Avenue, San Antonio, Texas 78221
5.   ZEC New York, Inc.                      Zachry Engineering Corporation           100%      527 Logwood Avenue, San Antonio, Texas 78221
6.   UE Properties, Inc.                     Zachry Engineering Corporation           100%      527 Logwood Avenue, San Antonio, Texas 78221
7.   ZEC Michigan, Inc.                      Zachry Engineering Corporation           100%      527 Logwood Avenue, San Antonio, Texas 78221
8.   Zachry Industrial, Inc.                 Zachry EPC Holdings, LLC                 100%      527 Logwood Avenue, San Antonio, Texas 78221
9.   Zachry Construction, LLC                Zachry Industrial, Inc.                  100%      527 Logwood Avenue, San Antonio, Texas 78221
10. Moss Point Properties, LLC               Zachry Industrial, Inc.                  100%      527 Logwood Avenue, San Antonio, Texas 78221
11. Zachry Enterprise Solutions, LLC         Zachry Holdings, Inc.                    100%      527 Logwood Avenue, San Antonio, Texas 78221
12. Zachry Nuclear, Inc.                     Zachry Holdings, Inc.                    100%      527 Logwood Avenue, San Antonio, Texas 78221
13. Zachry Nuclear Corporation, Inc.         Zachry Nuclear, Inc.                     100%      527 Logwood Avenue, San Antonio, Texas 78221
14. Zachry Nuclear Engineering, Inc.         Zachry Nuclear, Inc.                     100%      527 Logwood Avenue, San Antonio, Texas 78221
15. Zachry Computer Simulation & Analysis,   Zachry Nuclear Engineering, Inc.         100%      527 Logwood Avenue, San Antonio, Texas 78221
    Inc.
16. Zachry Plant Services Holdings, Inc.     Zachry Holdings, Inc.                    100%      527 Logwood Avenue, San Antonio, Texas 78221
17. JVIC Fabrication, LLC                    Zachry Plant Services Holdings, Inc.     100%      527 Logwood Avenue, San Antonio, Texas 78221
18. Zachry Industrial Americas, Inc.         JVIC Fabrication, LLC                    100%      527 Logwood Avenue, San Antonio, Texas 78221
19. Zachry Maintenance Services, LLC         Zachry Plant Services Holdings, Inc.     100%      527 Logwood Avenue, San Antonio, Texas 78221
                                                                                                                                               Case 24-90377 Document 1 Filed in TXSB on 05/21/24 Page 8 of 28




20. J.V. Industrial Companies, LLC           Zachry Plant Services Holdings, Inc.     100%      527 Logwood Avenue, San Antonio, Texas 78221
21. Madison Industrial Services Team, LLC    J.V. Industrial Companies, LLC           100%      3741 Red Bluff Road, Pasadena, Texas 77503
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      Fill in this information to identify the case:

      Debtor name Zachry Holdings, Inc.

      United States Bankruptcy Court for the: Southern                    District of Texas

      Case number (If known):
                                                                                    (State)
                                                                                                                                                Check if this is an
                                                                                                                                                    amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                        12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete              Name, telephone number, and       Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code        email address of creditor         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                contact                           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                  professional          unliquidated,   total claim amount and deduction for value of
                                                                                  services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                  government
                                                                                  contracts)
                                                                                                                        Total claim, if    Deduction for       Unsecured
                                                                                                                        partially          value of            claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff
     SUNBELT RENTALS, INC.                    Michael Christian,                 Trade                  CUD                                                  $133,310,610
1    1799 Innovation Pt,                      michael.christian@sunbeltrentals.c
     Fort Mill, SC 29715                      om, (803) 578-9413


     D REYNOLDS COMPANY, LLC                  Scott George,                       Trade                 CUD                                                  $17,576,934
2    2680 Sylvania Cross Dr,                  sageorge@reynco.com,
     Fort Worth, TX 76137                     (210) 862-1148


     BO-MAC CONTRACTORS LTD                   Dan Brown                           Trade                 CUD                                                  $15,608,639
3    1020 Lindbergh Drive                     danbrown@bo-mac.com
     Beaumont, TX, 77707                      (409) 842-2125


     BIGGE CRANE AND RIGGING CO.              Eric Jones,                         Trade                 CUD                                                  $14,746,479
4    2400 Maury Street,                       ejones@bigge.com,
     Richmond, VA 23224                       (804) 271-9356


     RUSH RESOURCES, LLC                      John Rush Jr.,                      Trade                 CUD                                                  $12,566,163
5    2781 County Road 639                     jrush@rushllc.com,
     Buna, TX, 77612                          (409) 781-5911


     MAMMOET USA, INC.                        Mike Hamic,                         Trade                 CUD                                                  $10,836,424
6    20525 FM 521.                            mike.hamic@mammoet.com,
     Rosharon, TX 77583                       (281) 369-2200


     TECON SERVICES, INC.                     Cynthia Jaime,                      Trade                 CUD                                                  $10,125,679
7    515 Garden Oaks Blvd.                    cjaime@teconservices.com,
     Houston, TX 77018                        (713) 691-2700


     GULFSPAN INDUSTRIAL, LLC                 Luis Gallardo,                      Trade                 CUD                                                  $7,997,804
8    600 N Shepherd Dr, Suite 300,            lgallardo@gulfspan.net,
     Houston, TX 77007                        (409) 673-0800




Modified Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                        page 1
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    Debtor       Zachry Holdings, Inc.                                                           Case number (if known)
                 Name




     Name of creditor and complete          Name, telephone number, and    Nature of the claim     Indicate if      Amount of unsecured claim
     mailing address, including zip code    email address of creditor      (for example, trade     claim is         If the claim is fully unsecured, fill in only unsecured
                                            contact                        debts, bank loans,      contingent,      claim amount. If claim is partially secured, fill in
                                                                           professional            unliquidated,    total claim amount and deduction for value of
                                                                           services, and           or disputed      collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                    Total claim, if    Deduction for       Unsecured
                                                                                                                    partially          value of            claim
                                                                                                                    secured            collateral or
                                                                                                                                       setoff

     SABER POWER SERVICES, LLC             Jared Penney,                  Trade                   CUD                                                    $5,854,479
9    9841 Saber Power Lane,                jpenney@saberpower.com,
     Rosharon, TX 77583                    (713) 222-9102


     MMR CONSTRUCTORS, INC.                John Cloutre,                  Trade                   CUD                                                    $5,709,681
10 15961 Airline Hwy.                      jclouatre@mmrgrp.com,
     Baton Rouge, LA 70817                 (225) 756-5090


     INSULATIONS, INC.                     Debbie Koper,                  Trade                   CUD                                                    $4,879,234
11 880 W. Commerce Rd, Suite 104,          dkoper@insulationsinc.com,
     Harahan, LA 70123                     (504) 733-5033


     ISC CONSTRUCTORS, LLC                 Mario Rispone,                 Trade                   CUD                                                    $4,809,862
12 20480 Highland Road,                    mrispone@iscgrp.com,
     Baton Rouge, LA 70817                 (225) 756-7585


     INNOVATIVE HEAT TREATMENT             Juan Solitaire,                Trade                   CUD                                                    $4,622,399
13 SOLUTIONS                               j.solitaire@ihtsinc.com,
     11318 Hirsch Rd,                      (346) 207-8081
     Houston, TX 77016

     HOTARD COACHES, INC.                  Callen Hotard,                 Trade                   CUD                                                    $4,607,991
14 2838 Touro Street,                      callen@hotard.com,
     New Orleans, LA 70122                 (504) 944-8660


     SYSTEM ONE HOLDINGS, LLC              Carla Snell,                   Trade                   CUD                                                    $4,529,021
15 210 Sixth Avenue Suite 3100,            carla.snell@systemone.com,
     Pittsburgh, PA 15222                  (717) 701-9240


     PK INDUSTRIAL, LLC                    Landon Riggs,                  Trade                   CUD                                                    $4,346,948
16 10811 E. Harry St,                      lriggs@pksti.com,
     Wichita, KS 67207                     (855) 759-2800


     CAJUN INDUSTRIES LLC                  William J Clouatre             Trade                   CUD                                                    $4,267,647
17 1020 Lindbergh Drive,                   williamc@cajunusa.com
     Beaumont, TX, 77707                   (225) 753-5857


     CALCAM LOGISTICS &                    Lennie Stephens,               Trade                   CUD                                                    $3,915,946
18 CONTRACTING, LLC                        lennie@calcam.net,
     3010 Spurlock Rd.,                    (601) 270-4965
     Nederland, TX 77627

     ANALYTIC STRESS RELIEVING, INC. Bryan Willis,                        Trade                   CUD                                                    $3,674,321
19 3118 W Pinhook Rd #202,           bryan.willis@analyticstress.com,
     Lafayette, LA 70508             (281) 471-9600


     COMMONWEALTH ELECTRIC                 Scott Lamoreux,                 Trade                  CUD                                                    $3,628,994
20 COMPANY OF THE MIDWEST                  slamoreux@commonwealthelectric.
     3910 South Street,                    com,
     Lincoln, NE 68506                     (402) 514-2646




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  Debtor        Zachry Holdings, Inc.                                                           Case number (if known)
                Name




   Name of creditor and complete           Name, telephone number, and    Nature of the claim     Indicate if      Amount of unsecured claim
   mailing address, including zip code     email address of creditor      (for example, trade     claim is         If the claim is fully unsecured, fill in only unsecured
                                           contact                        debts, bank loans,      contingent,      claim amount. If claim is partially secured, fill in
                                                                          professional            unliquidated,    total claim amount and deduction for value of
                                                                          services, and           or disputed      collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff

   FERGUSON ENTERPRISES, INC.            Chris Fadden,                    Trade                  CUD                                                    $3,537,084
21 751 Lakefront Commons,                chris.fadden@ferguson.com,
   Newport News, VA, 23606               (330) 931-7078


   THOMPSON CONSTRUCTION                 Hal Turner,                      Trade                  CUD                                                    $3,459,913
22 GROUP, INC.                           hturner@thompsonind.com,
   100 North Main Street,                (803) 972-1011
   Sumter, SC 29150

   P&I SUPPLY CO.                        Bruce Stallings,                 Trade                  CUD                                                    $3,219,621
23 2220 N Fares Avenue,                  bstallings@pisupply.com,
   Evansville, IN 47711                  (812) 894-4531


   THOMPSON CONSTRUCTION                 Hal Turner,                      Trade                  CUD                                                    $3,049,882
24 GROUP, INC.                           hturner@thompsonind.com,
   100 North Main Street,                (803) 972-1011
   Sumter, SC 29150

   TRADESMEN INTERNATIONAL, LLC          Dan Bennet,                       Trade                 CUD                                                    $2,908,191
25 9760 Shepard Road,                    daniel.bennet@tradesmeninternatio
   Macedonia, OH 44056                   nal.com,
                                         (352) 246-4756

   SUN COAST RESOURCES LLC               Brian Robinson,                  Trade                  CUD                                                    $2,723,957
26 6405 Calvalcade St.,                  legal@suncoastresources.com,
   Houston, TX 77026                     (800) 231-7584


   BAKER HUGHES HOLDINGS                 Randy Coghlin,                 Trade                    CUD                                                    $2,645,419
27 17021 Aldine Westfield Rd.,           randy.coghlin@bakerhughes.com,
   Houson, TX 77073                      (713) 906-8407


   NES COMPANIES LP.                     Kimberly Tran                    Trade                  CUD                                                    $2,610,909
28 PO Box 205572, Dallas                 kimberly.tran@nesgt.com
   TX, 75320-5572                        (346) 320-0709


   REDWINE ENTERPRISES INC               Pat Redwine                      Trade                  CUD                                                    $2,564,492
29 2114 LEE STREET                       tredwinde@gt.rr.com
   NEDERLAND, TX, 77627                  (409)722-8373


   PORT ARTHUR TECHNICAL                 Reynald Reyes,                   Trade                  CUD                                                    $2,515,695
30 SERVICES                              reynald.reyes@pa-ts.com,
   2901 Turtle Creek Dr.,                (587) 779-3201
   Port Arthur, TX 77642




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                         OMNIBUS RESOLUTIONS OF THE
          BOARDS OF DIRECTORS, SOLE SHAREHOLDERS, AND SOLE MEMBERS
                                                 May 20, 2024
         After due deliberation, (i) the members of the board of directors of Zachry Holdings, Inc.
(the “Company”) and (ii) the undersigned, being the sole shareholder or the sole member, as the case may
be, of each of the companies set forth on Annex A attached hereto (collectively, the “Companies,” and the
governing body of each Company, each a “Governing Body”), do hereby consent to, adopt, and approve
the following resolutions pursuant to the certification of incorporation or similar document (in each case,
as amended or amended and restated to date) of each Company, as applicable, and the laws of the state of
formation of each Company as set forth next to each Company’s name on Annex A:
Chapter 11 Filing
         WHEREAS, each Governing Body has reviewed and considered (a) the presentations by each
Company’s management and financial and legal advisors regarding the liabilities and liquidity of each
Company, the strategic alternatives available to it, and the impact of the foregoing on each Company’s
businesses, (b) the information and advice previously provided to and reviewed by each Governing Body,
and (c) the related matters reported on at the meeting of each Governing Body;
        WHEREAS, in connection therewith, the Company seeks to appoint Mr. Mohsin Meghji as Chief
Restructuring Officer of the Company upon the filing of the Chapter 11 Cases (as defined below);
        WHEREAS, each Governing Body has had the opportunity to consult with each of the Companies’
management and financial and legal advisors and fully consider each of the strategic alternatives available
to the Companies; and
         WHEREAS, based on their review of all available alternatives and advice provided by such
financial and legal advisors, each Governing Body deems it advisable and in the best interest of each of the
Companies, their creditors, employees, and other stakeholders to take the actions specified in the following
resolutions.
        NOW, THEREFORE, BE IT,
         RESOLVED, that in the business judgment of each Governing Body, it is desirable and in the best
interests of the Companies, their creditors, and other parties in interest to file, or cause to be filed, voluntary
petitions for relief (the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of the United
States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of
Texas (the “Bankruptcy Court”) and any other petition for relief or recognition or other order that may be
desirable under applicable law in the United States, and to take any and all actions, that they deem necessary
or appropriate.
        RESOLVED, that the officers of each Company and Mr. Mohsin Meghji (each, an “Authorized
Signatory” and collectively, the “Authorized Signatories”), acting alone or with one or more other
Authorized Signatories be, and they hereby are, authorized, empowered and directed, together with the
Companies’ advisors, to execute and file on behalf of each Company all petitions, schedules, lists and other
motions, applications, pleadings, papers, or documents, and to take any and all actions that they deem
necessary or proper to obtain such relief, including, without limitation, any action necessary to maintain the
ordinary course operation of each Company’s businesses and in connection with the Chapter 11 Cases, with
a view to the successful prosecution of the cases.
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Retention of Professionals
         RESOLVED, that Mr. Mohsin Meghji shall serve as Chief Restructuring Officer of the Company
immediately after the filing of the Chapter 11 Cases and shall have the powers and duties as set forth in an
engagement letter, the material terms of which have been described to the Governing Bodies, for the term
set forth in such letter or, if earlier, until his earlier resignation or removal.
        RESOLVED, that Mr. Mohsin Meghji will receive the benefit of the most favorable
indemnification provisions provided by the Company to its directors, officers, and any equivalently placed
employees, whether under the Company’s charter or by-laws, by contract or otherwise and such
indemnification obligation shall be primary to, and without allocation against, any similar indemnification
obligations that M3 Advisory Partners, LP (“M3”) may offer to its personnel generally.
         RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the law firm of White & Case LLP (“W&C”) as general bankruptcy counsel to represent
and assist each Company in carrying out its duties under the Bankruptcy Code, and to take any and all
actions to advance each Company’s rights and obligations, including filing any motions, objections, replies,
applications, or pleadings; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers, and to cause to be filed an appropriate application for authority to retain the services of W&C in
accordance with applicable law.
         RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the law firm of Susman Godfrey L.L.P. (“Susman”) as special litigation counsel to
represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to take any
and all actions to advance each Company’s rights and obligations, including filing any motions, objections,
replies, applications, or pleadings; and in connection therewith, each of the Authorized Signatories, with
power of delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the services
of Susman in accordance with applicable law.
         RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the law firm of Hicks Thomas, LLP (“Hicks Thomas”) as special litigation counsel to
represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to take any
and all actions to advance each Company’s rights and obligations, including filing any motions, objections,
replies, applications, or pleadings; and in connection therewith, each of the Authorized Signatories, with
power of delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the services
of Hicks Thomas in accordance with applicable law.
        RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of M3 as financial advisor to each Company to represent and assist each
Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance
each Company’s rights and obligations; and in connection therewith, each of the Authorized Signatories,
with power of delegation, is hereby authorized and directed to execute appropriate retention agreements,
pay appropriate retainers, and cause to be filed an appropriate application for authority to employ or retain
the services of M3 in accordance with applicable law.
         RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of Kurtzman Carson Consultants LLC (“KCC”) as notice and claims agent to
represent and assist each Company in carrying out its duties under the Bankruptcy Code, and to take any
and all actions to advance each Company’s rights and obligations; and in connection therewith, each of the
Authorized Signatories, with power of delegation, is hereby authorized and directed to execute appropriate


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retention agreements, pay appropriate retainers, and cause to be filed appropriate applications for authority
to retain the services of KCC in accordance with applicable law.
         RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ any other professionals, including legal counsel, accountants, financial advisors,
investment bankers, and other professionals, to assist each Company in carrying out its duties under the
Bankruptcy Code; and in connection therewith, each of the Authorized Signatories, with power of
delegation, is hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers and fees, and cause to be filed an appropriate application for authority to retain the services of any
other professionals as necessary.
General
         RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
empowered, on behalf of and in the name of the Company to amend, supplement, or otherwise modify from
time to time the terms of any documents, certificates, instruments, agreements, financing statements,
notices, undertakings, or other writings referred to in the foregoing resolutions.
         RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, each of the Authorized Signatories (and their designees and delegates) be, and
hereby are, authorized and empowered, in the name of and on behalf of each Company, to take or cause to
be taken any and all such other and further action, and to execute, acknowledge, deliver, and file any and
all such agreements, certificates, instruments, and other documents and to pay all expenses, including but
not limited to filing fees, in each case as in such Authorized Signatory’s judgment, shall be necessary,
advisable, or desirable in order to fully carry out the intent and accomplish the purposes of the resolutions
adopted herein.
        RESOLVED, that each Governing Body of each Company has received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions, as may be
required by the organizational documents of each Company, or hereby waive any right to have received
such notice.
         RESOLVED, that all acts, actions, and transactions relating to the matters contemplated by the
foregoing resolutions done in the name of and on behalf of each Company, which acts would have been
approved by the foregoing resolutions except that such acts were taken before the adoption of these
resolutions, are hereby, in all respects, approved and ratified as the true acts and deeds of each Company
with the same force and effect as if each such act, transaction, agreement, or certificate has been specifically
authorized in advance by resolution of each Governing Body.
         RESOLVED, that the omission from these resolutions of any agreement, document, or other
arrangement contemplated by any of the agreements, documents, or instruments described in the foregoing
resolutions or any action to be taken in accordance with any requirement of any of the agreements or
instruments described in the foregoing resolutions shall in no manner derogate from the authority of the
Authorized Signatories to take all actions necessary, desirable, advisable, or appropriate to consummate,
effectuate, carry out, or further the transactions contemplated by, and the intent and purposes of, the
foregoing resolutions.
         RESOLVED, that each of the Authorized Signatories (and their designees and delegates) be, and
hereby is, authorized and empowered to take all actions or to not take any action in the name of each
Company with respect to the transactions contemplated by these resolutions hereunder, as such Authorized
Signatory shall deem necessary or desirable in such Authorized Signatory’s reasonable business judgment
to effectuate the purposes of the transactions contemplated herein.



                                                       3
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                                         Annex A
                                         Companies

                       Name of Company                       Jurisdiction of Incorporation

Zachry Holdings, Inc.                                Delaware


Zachry EPC Holdings, LLC                             Texas

Zachry Engineering Corporation                       Delaware

Zachry High Voltage Solutions, LLC                   Texas
ZEC New York, Inc.                                   New York

UE Properties, Inc.                                  Texas
ZEC Michigan, Inc.                                   Michigan
Zachry Industrial, Inc.                              Texas

Zachry Constructors, LLC                             Texas
Moss Point Properties, LLC                           Texas
Zachry Enterprise Solutions, LLC                     Texas

Zachry Nuclear, Inc.                                 Delaware
Zachry Nuclear Construction, Inc.                    Delaware
Zachry Nuclear Engineering, Inc.                     Delaware
Computer Simulation & Analysis, Inc.                 Idaho

Zachry Plant Services Holdings, Inc.                 Texas
JVIC Fabrication, LLC                                Texas
Zachry Industrial Americas, Inc.                     Delaware

Zachry Maintenance Services, LLC                     Texas
J.V. Industrial Companies, LLC                       Texas
Madison Industrial Services Team, LLC                Texas
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 Fill in this information to identify the case and this filing:


              Zachry Holdings, Inc.
 Debtor Name __________________________________________________________________
                                         Southern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

         
         ■ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                                                    Consolidated Corporate Ownership Statement and List of Equity Holders
         ■ Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    5/21/2024
        Executed on ______________                         8 /s/ James R. Old
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 James R. Old
                                                                ________________________________________________________________________
                                                                Printed name

                                                                General Counsel
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
